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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA
                                                   No. 21-mj-30
           v.

 ANDREW WILLIAMS,
                                                   UNDER SEAL
                 Defendant.




                                                ORDER

       This matter having come before the Court pursuant to the motion of the United States to

unseal the above-captioned matter, including the above-captioned warrant and related

documents, such as the complaint, the affidavit in support thereof, and all attachments thereto

and other related materials (collectively the “Warrant”), the Court finds that, as the Defendant

Andrew Williams has been arrested and the Warrant executed, there is no longer a compelling

governmental interest to justify the sealing.

       IT IS THEREFORE ORDERED that the government’s motion to unseal is hereby

GRANTED, and the above-captioned matter and all documents filed in this matter to date,

including but not limited to the Warrant, the prior application to seal and sealing Order, and the

instant motion to unseal, shall be unsealed.

       IT IS FURTHER ORDERED that the Clerk’s office may now make entry on the public

docket of the Warrant and of this matter.

                                                                         G. Michael Harvey
                                                                         2021.01.14 15:04:55
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                                                G. MICHAEL HARVEY
                                                UNITED STATES MAGISTRATE JUDGE
